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IN THE UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

)
IN RE: PHARMACEUTICAL INDUSTRY AVERAGE ) MDL No. 1456
WHOLESALE PRICE LITIGATION ) C.A. No. 01-12257-PBS

)

) Judge Patti B. Saris
THIS DOCUMENT RELATES TO ALL ACTIONS __)

)

ORDER OF INJUNCTION FROM PURSUING OVERLAPPING CLAIMS AND
DEFENDANTS IN SWANSTON V. TAP PHARMACEUTICAL PRODUCTS, INC., ET AL.

WHEREAS, Swanston v. TAP Pharmaceutical Products, Inc., et al. was originally filed
in the Superior Court of the State of Arizona in and for the County of Maricopa, CV2002-

004988 (Hon. Janet E. Barton) (“Swanston”), and was subsequently removed to the United States

District Court for the District of Arizona;

WHEREAS, the Judicial Panel on Multidistrict Litigation transferred Swanston to this

Court for consolidation with MDL No. 1456 (“MDL”);
WHEREAS, Swanston was remanded to the Maricopa County Superior Court;

WHEREAS, this Court has been presiding over the MDL for six years and has made

numerous rulings on class certification and the merits;

WHEREAS, lead counsel for the plaintiff in Swanston, Mr. Donald E. Haviland, has been
an active participant in the MDL for the past several years and is well aware of the Court’s

rulings in the case;

WHEREAS, on September 11, 2007, this Court ruled that Mr. Haviland cannot pursue

claims and defendants overlapping with the MDL in state court cases;

WHEREAS, notwithstanding prior representations to this Court, Mr. Haviland intends to

pursue overlapping claims and defendants in Swanston;

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WHEREAS, the prosecution of AWP-based claims in Swanston conflicts with this

Court’s jurisdiction and authority to manage and adjudicate the claims in the MDL; and

WHEREAS, under the Anti-Injunction Act and the All Writs Act, this Court has the

authority to issue injunctions necessary in aid of its jurisdiction over the MDL;
THEREFORE, in order to maintain the orderly management and disposition of the MDL;

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

Robert J. Swanston, Donald E. Haviland, or any other putative class representative shall
not further prosecute and shall dismiss all claims in Swanston v. TAP Pharmaceutical Products,
Inc., et al., Superior Court of the State of Arizona in and for the County of Maricopa, CV2002-

004988, against the following defendants for the pendency of the MDL:

Abbott Laboratories; Amgen Inc.; Zeneca, Inc.; AstraZeneca Pharmaceuticals
L.P.; AstraZeneca LP; Aventis Pharmaceuticals Inc.; Hoechst Marion Roussel,
Inc.; ZLB Behring, L.L.C. (f/k/a Aventis Behring L.L.C.); Baxter International
Inc.; Baxter Healthcare Corporation; Bayer Corporation; Bristol-Myers Squibb
Co.; Oncology Therapeutics Network Corp.; Apothecon, Inc.; Dey, Inc.; Fujisawa
Healthcare, Inc.; Fujisawa USA, Inc.; Immunex Corporation; Johnson & Johnson;
Centocor, Inc.; Ortho Biotech Products, L.P.; Pharmacia Corporation; G.D.
Searle, Pharmacia & Upjohn LLC, f/k/a Pharmacia & Upjohn, Inc.; Monsanto
Company; Schering-Plough Corporation; Warrick Pharmaceuticals Corporation;

Sicor, Inc.; Gensia, Inc.; and Gensia Sicor Pharmaceuticals, Inc.

IT IS SO ORDERED this day of , 2008

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Patti B. Saris, U.S.D.J.

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